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TIGRAN MARTINIAN, ESQ.
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Attorney for Defendant
EDWARD BADALIAN

                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

            Plaintiff
                                                     Case Number: 21-cr-246
DANIEL JOSEPH “DJ” RODRIGUEZ,
(Counts 1, 2, 3, 4, 6, 7, 8, 10)

EDWARD BADALIAN
(Counts 1, 2, 3, 10)

         Defendants.
____________________________________/


                        EDWARD BADALIAN’S NOTICE OF INTENT

       COMES NOW, the Defendant, EDWARD BADALIAN, by and through his

undersigned attorney, and files the following Notices:

       1) Due to the extremely voluminous nature of discovery, which the undersigned has not

           completely reviewed and analyzed, and the undersigned’s ongoing investigation into

           the charges in the instant indictment, MR. BADALIAN cannot represent, at this

           juncture, that he intends to file any motion pursuant to Fed. R. Crim. Proc.

           12(b)(3)(B)(i)-(iii) and (v) alleging any defect or defects in the indictment or any



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           motions to suppress evidence pursuant to Rule 12(b)(3)(C). Since he cannot represent

           that he intends to file any of the aforesaid motions at this time, MR. BADALIAN has

           not conferred with the Government concerning a schedule for filing such motions.

       2) MR. BADALIAN can represent that he intends to file motions alleging improper

           joinder under Rule 12(b)(3)(B)(iv) or seeking severance of charges or defendants

           under Rules 12(b)(3)(D) and 14. Said motions may be set within sixty (120) days of

           the date of this Notice.

       I HEREBY CERTIFY that on the 21st day of January, 2022, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following: Kimberly Paschall, Assistant U.S. Attorney, Tara Ravindra

Assistant U.S. Attorney.



                                                            Respectfully submitted,

                                                           /s/ Tigran Martinian
                                                           ______________________________
                                                            TIGRAN MARTINIAN, ESQ.
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                                                            DCB ID#: CA00133
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Attorney for Defendant,
EDWARD BADALIAN




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